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 4                           UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6                                                 -oOo-
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 9   UNITED STATES OF AMERICA,                         )    I
                                                       )    2:11-cr-00304-RCJ(PAL)
10                         Plaintiff,                  )
                                                       )
11   vs.                                               )    ORDER FOR DISMISSAL
                                                       )
12   MARQUIS WHITE,                                    )
                                                       )
13                         Defendant.                  )
                                                       )
14                                                     )
15

16                  Under Federal Rule of Criminal Procedure 48(a), and by leave of Court endorsed
17   hereon, the United States Attorney for the District of Nevada hereby dismisses the Criminal
18   Indictment filed on August 16, 2011, as to Defendant Marquis White and requests the case be
19   closed against Marquis White.
20                  Leave of Court is granted for the filing of the foregoing dismissal and the case
21   against Marquis White is dismissed without prejudice.
22                  DATED this 27th dayday
                                         of of October,
                                            October,    2011.
                                                    , 2011.
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                                                           ROBERT
                                                           ROBE
                                                           RO B RT C C.. JJO
                                                                          JONES
                                                                           ONNEES
25                                                          Chief Unitedd States
                                                                           States District Judge
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